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                                                                 1   J. BRUCE ALVERSON, ESQ.
                                                                     Nevada Bar No. 1339
                                                                 2   KARIE N. WILSON, ESQ.
                                                                     Nevada Bar No. 7957
                                                                 3   ALVERSON TAYLOR & SANDERS
                                                                     6605 Grand Montecito Pkwy, Ste. 200
                                                                 4   Las Vegas, NV 89149
                                                                     702-384-7000 Phone
                                                                 5   702-385-7000 Fax
                                                                     Attorneys for Defendants
                                                                 6

                                                                 7                                UNITED STATES DISTRICT COURT

                                                                 8                                        DISTRICT OF NEVADA

                                                                 9   PHILLIP ELWELL, individually,                         CASE NO:       2:19-cv-01673-APG-NJK

                                                                10                                  Plaintiff,
                                                                                                                           ORDER GRANTING
                                                                                                                           STIPULATION      STIPULATION
                                                                                                                                        AND (PROPOSED)
ALVERSON TAYLOR & SANDERS




                                                                11   v.                                                    ORDER  TO EXTEND
                                                                                                                           TO EXTEND         TIME
                                                                                                                                      TIME FOR    FOR
                                                                                                                                               FILING
                            6605 GRAND MONTECITO PKWY STE 200




                                                                                                                           FILING JOINT PRE-TRIAL
                                                                                                                           JOINT PRE-TRIAL ORDER ORDER
                                                                12   GREGORY HARVEY, individually; FEDEX
                                    LAS VEGAS, NV 89149




                                                                     FREIGHT, INC. dba FEDEX FREIGHT dba
                                        (702) 384-7000




                                                                     FEDEX FREIGHT, SLV; DOES 1 to 100; and
                                          LAWYERS




                                                                13
                                                                     ROE CORPORATIONS 1 to 100, inclusive,
                                                                14

                                                                15                           Defendants.
                                                                     __________________________________________
                                                                16

                                                                17          COME NOW Plaintiff PHILLIP ELWELL, by and through his attorney of record, the

                                                                18   law firm of NAQVI INJURY LAW, and Defendants GREGORY HARVEY and FEDEX

                                                                19   FREIGHT, INC., by and through their attorneys of record, the law offices of ALVERSON

                                                                20   TAYLOR & SANDERS, and herein stipulate, agree, and make joint application to extend the

                                                                21   time to file the Joint Pre-Trial Order.

                                                                22   I.     INTRODUCTION

                                                                23          The parties have completed discovery and the deadline for filing the Joint Pre-Trial Order

                                                                24   is currently scheduled for January 11, 2021. However, due to the number of potential trial

                                                                                                                    1                                        KNW 26220
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                                                                 1   exhibits and witnesses to address issues of liability and damages, the parties request an additional

                                                                 2   five (5) days to complete and file the Joint Pre-Trial Order.

                                                                 3   II.    REQUEST FOR EXTENSION OF TIME

                                                                 4          Plaintiff has asserted a claim of negligence against Defendants and has alleged damages

                                                                 5   related to past and future medical expenses; lost wages, benefits, and earning capacity; lost

                                                                 6   household/family housekeeping and household management services; reduction in value of life;

                                                                 7   and intangible damages including pain and suffering. Additionally, Plaintiff underwent a cervical

                                                                 8   fusion surgery prior to the commencement of litigation and alleges a need for shoulder surgery

                                                                 9   and a future cervical fusion adjacent to the previously fused segment. The parties anticipate

                                                                10   identifying potential trial exhibits and witnesses necessary to address issues of liability and these
ALVERSON TAYLOR & SANDERS




                                                                11   alleged injuries and damages. The parties also understand that, pursuant to the Third Amended
                            6605 GRAND MONTECITO PKWY STE 200




                                                                12   General Order 2020-03, as of November 12, 2020, all jury trials are suspended until further
                                    LAS VEGAS, NV 89149
                                        (702) 384-7000




                                                                     notice. As such, there is no prejudice caused by the brief, requested extension of time for the
                                          LAWYERS




                                                                13

                                                                14   filing of the Joint Pre-Trial Order. For the reasons stated above, the parties respectfully request

                                                                15   this Court approve the instant Stipulation and enter its order granting the same.

                                                                16   III.   PROPOSED SCHEDULE FOR COMPLETE DISCOVERY

                                                                17                                                                     Current:                Proposed:

                                                                18   Joint Pre-Trial Order:                                   January 11, 2021           January 15, 2021

                                                                19   ...

                                                                20   ...

                                                                21   ...

                                                                22   ...

                                                                23   ...

                                                                24   ...

                                                                                                                      2                                          KNW 26220
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                                                                 1          The parties have entered into this Stipulation in an effort to ensure that all potential trial

                                                                 2   witnesses and documents are accurately identified in the Joint Pre-Trial Order. It is not the intent

                                                                 3   of the parties to delay the conclusion of this matter. No trial date has yet been scheduled.

                                                                 4   DATED this 11th day of January 2021                  DATED this 11th day of January 2021

                                                                 5   NAQVI INJURY LAW                                     ALVERSON TAYLOR & SANDERS

                                                                 6
                                                                     /s/ Paul G. Albright_______________                  ________________________________
                                                                 7   FARHAN R. NAQVI, ESQ.                                J. BRUCE ALVERSON, ESQ.
                                                                     Nevada Bar No. 8589                                  Nevada Bar No. 1339
                                                                 8   PAUL G. ALBRIGHT, ESQ.                               KARIE N. WILSON, ESQ.
                                                                     Nevada Bar No. 14159                                 Nevada Bar No. 7957
                                                                 9   9500 West Flamingo Road, Suite 104                   6605 Grand Montecito Pkwy, Ste. 200
                                                                     Las Vegas, Nevada 89147                              Las Vegas, NV 89149
                                                                10   Attorneys for Plaintiff                              Attorneys for Defendants
ALVERSON TAYLOR & SANDERS




                                                                11
                            6605 GRAND MONTECITO PKWY STE 200




                                                                                (PROPOSED) ORDER TO EXTEND THE TIME FOR FILING THE
                                                                12                            JOINT PRE-TRIAL ORDER
                                    LAS VEGAS, NV 89149
                                        (702) 384-7000




                                                                            IT IS SO ORDERED.
                                          LAWYERS




                                                                13

                                                                14          Dated __________________,
                                                                                     January 12       2021

                                                                15                                                          ___________________________________
                                                                                                                            UNITED STATES MAGISTRATE JUDGE
                                                                16
                                                                     Submitted by:
                                                                17   ALVERSON TAYLOR & SANDERS

                                                                18
                                                                     ____________________________________
                                                                19   J. BRUCE ALVERSON, ESQ.
                                                                     Nevada Bar No. 1339
                                                                20   KARIE N. WILSON, ESQ.
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                                                                23   Attorneys for Defendants

                                                                24
                                                                                                                      3                                             KNW 26220
